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EXHIBIT 12
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Maris, Ron (F&P Expert-Smith) 9/30/2008 9:12:00 AM

 

 

 

 

308 311
1 UNITED STATES DISTRICT COURT 1 CONTINUED VIDEOTAPED DEPOSITION OF R
DISTRICT OF MASSACHUSETTS 2 Wm. MARIS, Ph.D., a witness called on behalf of the
; 3 Defendant, before V. Dario Stanziola, CSR, RPR,
) 4 CRR, held at the Columbia Marriott, 1200 Hampton
4 Inre: NEURONTIN MARKETING, } 5 Street, Columbia, South Carolina, on Tuesday,
SALES PRACTICES, AND PRODUCTS) 6 September 30, 2008, commencing at 9:12 a.m.
5 LIABILITY LITIGATION, ) 7
} 8
6
7 VOLUME II g
8 10
9 CONTINUED VIDEOTAPED DEPOSITION OF 1
10 RONALD Wm. MARIS, Ph.D. 12
11 (Taken by Defendant) 13
12 Columbia, South Carolina
13 Tuesday, September 30, 2008 14
14 16
16 16
16 17
7
1
18 8
19 19
20 20
21 21
22 22
23 23
24 Reported in Stenotype by
V. Dario Stanziola, CSR, RPR, CRR 24
25 ‘Transcript produced by computer-aided transcription 25
- 310 342
1 APPEARANCES 1 INDEX OF EXAMINATIONS
ON BEF Sedneate Con
, Esquire
4 Finkelstein 8 Partners 4 4 By Ms. McGroder PAGE 314
oute
Newburgh, New York 12581 5 INDEX OF EXHIBITS
5 (845) 563-9442 NUMBER EXHIBIT MARKED
rrosenkranz@lawampm.com 6 — Exhibit 20; Handwritten document with 314
6 4 7 attachments entitled Notes gated 9/26/08
an
7 Exhibit 21: A document entitled Rates Of
KENNTH §, SOH, Esquire 8 Depression Reported As An Adverse Event
8 The Lanier Law Firm In Neurontin Placebo-Controlied .
6810 FM 1960 West 9 Neuropathy And Epilepsy Clinical Trials
9 Houston, Texas 77068 10 Exhibit 22: & document entitled N ‘i
: eurontin Gabapentin Capsules; Neurontin
10 ss@lanierlawfirm.com 11 Gaba entin Tablets, Neutortin Gabapentin
ON BEHALF OF THE DEFENDANT PFIZER: 120 a voulen 3392
12 Exhibit 23; A document entitled an FDA
LORI CONNORS McGRODER, Esquire 13 enter for Drug Evaluation and Research
13 JENNIFER M. STEVENSON, Esquire Document entified Review and Evaluation
44 ANGELA M. SEATON, Esquire 14 of Clinical Data 442
squire a: :
; ‘4 7 15 Exhibit 24: A document entitled Rates Of
15 (pppearing V ia Telephone P Depression Reported As An Adverse Event
9555 Grand Boulvard 16 In Neurontin Placebo-Controlled
n ! : Neuropathy And Epilepsy Clinical Trials
16 Kansas City, Missouri 64108 17 354
(816) 474-0550 Exhibit 25: A letter dated 5/29/92 to
17 Imegroder@shb.com 18 Paul D. Leber from Janeth L, Turner
jstevenson@shb.com . 356
18 aseaton@shb.com 19 Exhibit 26: A document entitled Appendix
Ischultz@>shb.com ¢.11. Summary of Adverse Events By Body
49 20 = System 370
a9 M80 Present: 21 Exhibit 27: A document entitled Summary
: verse Events In ercen
JAMES DOWNIE, CLVS, Videographer 22 ~~ Patients With Partial Seizures Treated
a1 With Gabapentin Or Placebo During
22 23 Controlled Clinical Studies, By Body
a4 24 System And Double-Blind Tréatment Group
25 25

 

 

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

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Maris, Ron (F&P Expert) 10/1/2008 9:54:00 AM

 

648

 

 

650

 

 

 

1 UNITED STATES DISTRICT COURT 1 CONTINUED VIDEOTAPED DEPOSITION OF R
DISTRICT OF MASSACHUSETTS 2 Wm. MARIS, Ph.D., a witness called on behalf of the
‘ 3 Defendant, before V. Dario Stanziola, CSR, RPR,
) 4 CRR, held at the Columbia Marriott, 1200 Hampton
4 In re: NEURONTIN MARKETING, ) 5 Street, Columbia, South Carolina, on Wednesday,
SALES PRACTICES, AND PRODUCTS} 6 October 1, 2008, commencing at 9:54 a.m.
5 — LIABILITY LITIGATION, } 7
6 8
7 VOLUME III 9
8 10
9 CONTINUED VIDEOTAPED DEPOSITION OF 11
40 RONALD Wm. MARIS, Ph.D. 12
11 (Taken by Defendant) 13
12 Columbia, South Carolina
13 Wednesday, October 1, 2008 14
14 15
15 16
16 17
7
48 18
19 19
20 20
24 21
22 29
23 23
24 Reported in Stenctype by
V. Dario Stanziola, CSR, RPR, CRR 24
25 ~~‘ Transcript produced by computer-aided transcription 25
649 651
1 PPEARANCES 4 INDEX OF EXAMINATIONS
2 ON BEHALF OF THE PLAINTIFFS: 2
3 RON ROSENKRANZ, Esquire 3
4 1379 Route 400 ners By Ms. McGroder PAGE 652
Newour h, New York 12551 4
5 (845) 563-9442 INDEX OF EXHIBITS
5 rrosenkranz@lawampm.com 5
and NUMBER EXHIBIT MARKED
7 KENNETH S. SOH. E 6 Exhibit 39: A photocopy of a Medline 672
squire :
& The Lanier Law Firm q Plus article
6810 FM 1960 West 7
9 Houston Texas 77069 Exhibit 41: A fax cover sheet to John S. 757
{713} 65 659-52 8 Allen, subject Richard Smith dated
19 lanierawfirm.com 9/23/08 with attachment
ON BEHALF OF THE DEFENDANT PFIZER: 3
12 LORI CONNORS MeGRODER E Exhibit 42: Photocopy of Mr. Smith's 764
squire 10 suicide note
13 TENNER MSEATON Esquite squire 11 Exhibit 43: Photocopy of ajournal 770
14 LORI SCHULTZ, Esquire article entitled Suicide As Psychache: A
IAN LOSASSO Esquire 12. Clinical Approach to Self-Destructive
15 Siok, Hat via, Telephone p Behavior by Edwin Shneidman, Ph.D.
16 2555 Grand hauteard’ 13
Kansas City, Missouri 64108 14
7 (16) 474-6550 15
megroder hb. com 416
18 jstevenson@shb.com 17
aseaton@shb.com
19 Ischultz shb.com 18
ilosasso@shb.com 49
Also Present:
24 21
29 JAMES DOWNIE, CLVS, Videographer 22
25 2
24
95 25

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

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Maris, Ron (F&P Expert-Bulger) 10/20/2008 9:01:00 AM

 

 

 

 

 

 

825 827
1 UNITED STATES DISTRICT COURT 1 INDEX OF EXAMINATIONS
DISTRICT OF MASSACHUSETTS 3
2 4 By Ms. Seaton PAGE 832
3 ) 5 INDEX OF EXHIBITS
4 — Inre: NEURONTIN MARKETING, } 6 NUMBER PI EAH 4 , MARKED
SALES PRACTICES, AND PRODUCTS) x<nIDN 44° Plains Expe .
, | fi ti
5 LIABILITY LITIGATION, ) ; Disclosure On Specific Causation
} Exhibit 45: Document entitled Appendix 833
8 8 A, New Evidence For Bulger v. Pfizer
Received After July 18, 2008, Ronald Wm.
7 VOLUME IV 9 Maris, Ph.D. October 8, 2008
8 10 Exhibit 46; Report of Ronald Wm, Maris, 834
9 CONTINUED VIDEOTAPED DEPOSITION OF 11 ~~
1 RONALD Wim MARIS, PD. 12 Sei eye ao
14 (Taken by Defendant) Professor Ronald W. Maris, Ph.D.
- 12 Columbia, South Carolina 13 .
13 Monday, October 20, 2008 44 Exhibit 48: Handwritten notes 840
14 Exhibit 49: Manilla folder containing 841
15 15 billing record of Ronald Wm. Maris,
Ph.D.
16 16
V7 Exhibit 50: Ronald W. Maris, Ph.D. B43
18 17 Curriculum Vitae September 2008
18 Exhibit 51: Psychological Autopsy and 853
19 Death Investigation, File Name Susan
20 19 Bulger
m4 20 ~—- Exhibit 52: Photocopy of videotaped 890
32 2 deposition of Ronatd J. Bulger, Sr.
24 Exhibit 53: Office visit note for Susan 903
. 22 _— Bulger dated 1/6/00
24 Reported in Stenotype by 23 Exhibit 54: Progress notes for Susan 909
V. Dario Stanziola, CSR, RPR, CRR 24 Bulger dated 12/20/02 .
25 ~—s- Transcript produced by computer-aided transcription 55
826 828
1 APPEARANCES 1 Exhibit 55: Document entitled 951
2 ON BEHALF OF THE PLAINTIFFS: Commonwealth of Massachusetts Department
3 RON ROSENKRANZ, Esquire 2 Renot Services Child Abuse/Neglect
Finketstein & Partners 3
4 1279 Route 300 4 Exhibit 56: Decument entitled tts D 952 '
Newburgh, New York 12551 OMmMOnWwealin OF Massacnuseus Lepanmen
5 (845) 563-9442 5 pone Services FamilyNet dictation
rrosenkranz@lawampm.com 6 Exhibit 57: Photocopy of a PowerPoint 953
6 . resentation entitled Suicide and SSRIs
7 | ON BEHALF OF THE DEFENDANT PFIZER: ? Core nai iam Tuesden
8 ANGELA M. SEATON, Esquire 8 February 20, 2007 San Antonio, Texas
IAN LOSASSO, Esquire 9 Exhibit 58: Document entitled Beverly 988
9 LORI SCHULTZ, Esquire 40 Hos pital DIB/A BayRidge Hospital Intake
(Appearing Via Telephone) 11. Exhibit 59: AtlantiCare Progress Notes 990
10 Shook, Hardy & Bacon, L.L.P. dated 5/25/93
2688 Grand Boulevard "e Exhibit 60: AtlantiCare Medical Cent 993
i : 5 xhibit 60: AtlantiCare Medical Center
" Kansas City, Missouri 64108 13 Report of Consultation dated 5/17/93
(816) 474-6550 14‘ Exhibit 61: A dacument entitled Past 999
12 aseaton@shb.com 45 Psychiatric History
ilosasso@shb.com sect eae. . .
13 Ischuttz@shb.com 46 Exhibil 62: AtlantiCare Medical Center 1601
14 = Also Present: V7 Exhibit 63; A document entitled Patient 1006
18 JAMES DOWNIE, CLVS, Videographer 18 Messages Susan E. Bulger
i tg Exribit 64: A medical record 1015
18 Exhibit 65: A photocopy of videotaped 1016
0 3 Bx whit 66 a edical re cord Sale’ O sot7
20 CONTINUED VIDEOTAPED DEPOSITION OF R xhibit OG: 4 medical record salem
21 Wm. MARIS, Ph.D., a witness called on behalf of the 22 Tospital dated 6/17/88
22 Defendant, before V. Dario Stanziola, CSR, RPR, 24 Exhibit 67: AtiantiCare Medical Center 1018
23 CRR, held at the Columbia Marriott, 1200 Hampton report oF Consultation Gates ; .
24 Street, Columbia, South Carolina, on Monday, 24 corahag ister’ eaestionnake s Hospital 1019
25 October 20, 2008, commencing at 9:01 a.m. 25

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

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Maris, Ron (F&P Expert-Butger) 10/22/2008 9:07:00 AM

 

 

 

4105 4407
1 UNITED STATES DISTRICT COURT 1 EXHIBIT INDEX
2 DISTRICT OF MASSACHUSETTS 3 EXHIBIT 69 - BULGER NOTES 1111
: 4 EXHIBIT 90 - SMITH NOTES 1141
5 EXHIBIT 91 - HANDWRITTEN
Sen STEINBERG OO a
NTIN MARKETING, HIBIT 92 - COMMONWEAL
6 INRE: NEURONT RKETING MASSACHUSETTS, TRIAL COURT/PROBATE
7 SALES PRACTICES AND PRODUCTS 7 AND FAMILY COURT DEPARTMENT
8 LIABILITY LITIGATION 3 MOTION PAPER, 00376-118PFC-00029
9 EXHIBIT 93 - HANDWRITTEN 1131
9 AFFIDAVIT, 000376-118PFC-00010
10 10 EXHIBIT 94 - TWO-PAGE REPORT OF 1136
"1 VOLUME V TPR MC GRAVINI, 000376-47ECD-00002
11 AND 000376-47ECD-00003
12 12 EXHIBIT 95 - MEDICAL RECORD OF DR. 1191
45 GOLDMAN, 000376-254MD-00020
13
EXHIBIT 96 - COMMONWEALTH OF 1202
14 CONTINUED VIDEOTAPED DEPOSITION OF 14 Seen ee NTE OARTMENT OF SOCIAL
15 RONALD WILLIAM MARIS, Ph.D. SERVICES, ASSESSMENT WORKSHEET
15 00376-57MDS-00056 and
16 {Taken by Defendant) 000376-57MDS-00057
i 16
v7 Columbia, South Carolina EXHIBIT 97- ENCOUNTER NOTE BY DR. 1214
18 Wednesday, October 22, 2008 17 GOLDMAN, 000376-25AMD-0020
18 EXHIBIT 98 - MEDICAL RECORD OF DR. 1217
19 49 O'FLYNN, 000376-25AMD-00015
20 EXHIBIT 99 - ENCOUNTER NOTE BY DR. 1219
21 20 | GOLDMAN, 000376-254MD-00019
2 21 EXHIBIT 100 - ENCOUNTER NOTE BY 1224
> DR. GOLDMAN, 000376-25-AMD-00018
23 EXHIBIT 101 - ENCOUNTER NOTE OF 1223
24 23 DR. GOLDMAN, 00376-25AMD-00017
25 25 — (Exhibit index continued:)
1106 1108
1 APPEARANCES: 1 EXHIBIT 102 - COMMONWEALTH OF 1268
2 FORTHE PLAINTIFFS: MASSACHUSETTS DEPARTMENT OF SOCIAL
3 RON ROSENKRANZ, Esquire 2 SERVICES ASSESSMENT WORKSHEET
4 Finkelstein & Partn : 000376-57MDS-00056 AND
nkelstein & Panners 3 000376-57-MDS-00057
5 1279 Route 300 4 EXHIBIT 103 - CAB HEALTH & 1269
6 Newburgh, NY 12551 RECOVERY SERVICES, INC., PROGRESS
7 (845)563-9442 5 NOTES, INDIVIDUAL SESSION
8 rosenkranz@lawamipm.com 600376-70MDG-00267
9 FOR THE DEFENDANT PFIZER: 3
10 ANGELA M. SEATON 8 WITNESS INDEX:
1 TANLOSASSO 9 RONALD MARIS, Ph.D.
12 LORI SCHULTZ (via telephone) 10 Examination by Ms. Seaton 1270
13 Shook Hardy & Bacon, LLP 11
14 2555 Grand Boulevard 12
15 Kansas City, MI 64108 13
16 (816}474-6550 te
17- aseaton@shb.com 16
18 Ischulta@shb.com 17
19 ilosasso@shb.com 18
20 ALSO PRESENT: 19
21 JAMES DOWNIE, CLVS, VIDEOGRAPHER 20
22 21
22
23 33
24 24
25 25

 

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

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Maris, Ron (F&P Expert-Smith) 9/30/2008 9:12:00 AM

 

 

 

549 551
1 The article doesn't state that gabapentin 1 time of her death?
2 works within 30 minutes and has a clinical effect to 2 A. No.
3s reduce seizures within 30 minutes. It doesn't say 3 And may | say this? The medical examiner
4 that, does it? 4 — doesn't typically check for Neurontin. They check
5 A. it doesn't say - it says it can be used 5 for other panels. So that even if you had a
6 as needed, which would — which would mean that you 6 toxicology report, there would not be any medical
7 already had a need for it and that you could take 7 examiner evidence,
8 _ itlike an aspirin for a headache. That's what it 8 Q. Okay. 1— was actually not asking you
9 seems to suggest. 9 about a gabapentin level. | was asking you about a
10 Q. But would you agree with me this article - 10 brain GABA level.
11. dogs not state that gabapentin has a clinical effect 11 A. That's even more complicated because
12 toreduce seizures within 30 minutes; would you agree 12 you'd have to take a central spinal tap, which
13s with that? 13. nobody does, almost nobody.
14 A. It doesn't explicitly say that. 14 Q. So you don't know the brain GABA level at
15 Q. How many consecutive days of Neurontin 15 the time of death of either Ms. Bulger or Mr. Smith,
16 administration does it take to get a steady state? 16 correct?
7 A. That's beyond my expertise. I've given 17 A. True.
18 you all the references 1 have. 18 Q. And you don't know the serotonin tevel in
19 Q. Okay. 19 the cerebrospinal fluid of either Mr. Smith or Ms.
20 A. Ifit gets a steady state in two to three 20 = Bulger at the time of their deaths, correct?
21 hours and you keep taking it, | would say one day. 21 A. That's correct.
22 Q. Okay. But you don't know? 22 Q. really need to break that up. I'm sorry.
23 A. [don't know. 23 ~—_=+(| have to ask it in two questions.
24 Q. Do you know how many hours following 24 You don't know the serotonin level of Mr.
25 administration of a single dose of gabapentin there 25 Smith at the time of his death, correct?

550 552
4 -isno appreciable drug left in the system? 1 A. Correct.
2 A. According to Petroff, it doesn't really 2 Q. And you don't know the serctonin level of
3 say. We know what the halflife is. You know, 3 Ms. Bulger at the time of her death, correct?
4 that would not be -- that would be a rough 4 A. Correct.
5 approximation of how much. 5 Q. The same would be true for dapamine and
6 Q. Okay. 6 norepinephrine levels, correct?
7 A. Sol previcusly testified to that. It's 7 A. Correct.
8 also in the package insert. 8 Q. The same would be true for glutamine
9 Q. The halflife is in the package insert? 9 levels, correct?
10 A, The halflife is mentioned. It says half 10. A. And for acetylcholine and histamine and
11 Sife is five to seven hours. 11. every other neurotransmitter they weren't checked
12 So as you know, the half life is not 12 for.
13. doubled. You know, it's not like -- if it's a half 13 Q. And so the answer is correct?
14 ~~ life of seven, it's not 14. But it sounds to me 14 A. Correct.
15 like it would be within 24 hours based on the half 15 Q. J think you said that one of the things
16 life if you didn’t take anymore. 16 that you base your opinion on about Mr. Smith's
17 Q. Okay. Prior to a suicide, within what 17 ingestion is that Ruth Smith testified that he took
18 period of time must a person take Neurontin for it to 18 his medications as prescribed by the doctor, correct?
19 be a significant factor in the suicide? 19 <A. Correct.
20 A. [don't think there's an exact time. | 20 Q. Were you aware that Dr. Mackey instructed
21 ~~ don't think anybody knows, again. 21 ~~ Mr. Smith that if his medication was not working, he
22 Q. Do you know Mr. Smith's GABA level at the 22 ~~ should discontinue it?
23 ~~ time of his death? 23 A. No.
24 A. No. 24 Q. Is there any evidence in this record that
25 Q. Do you know Ms. Bulger’s GABA level at the 25 Mr. Smith believed that Neurontin was not helping

 

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

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Maris, Ron (F&P Expert) 10/1/2008 9:54:00 AM

 

 

692 694
1 you Say you're trying to create an image of a person 1 Q, Is your testimony that Neurontin made
2 son the edge of a suicidal! precipice, let's say that 2 Mr. Smith write his suicide note?
3 person who's on the edge of a Suicidal precipice is 3 A. That's a little much of a stretch, but |
4 not taking Neurontin. 4 think certainty it causes impulse control
5 What -- what are -- what are those factors 5 deregulation.
6 that are going to put push that person over the edge? 6 Q. Is your testimony that Neurontin caused his
7 A. There are a number of factors. Sometimes 7 suicide and his suicide was impulsive?
8 just the set that you listed in your hypothetical 8 A. [think it was partly impulsive, because
9 are sufficient themselves to push him over the 9 ‘| think that in the literature that | looked up --
10 edge. So I'm not denying that all the risk 10 for example, | had Brown, et al., in my -- in my —-
11 factors, that both the hypothetical and Richard 11 in my Assessment and Prediction of Suicide book, |
12 Smith had, could be enough. 12 asked them to address this question: What happens
13 Q. {t's just that in Mr. Smith's case he was 13. in animals and in human beings if you have
14 on Neurontin, so that was the tipping factor? 14 serotonergic dysfunction? Do they become more
15 A. Well, it wasn't just that. {twas a 15 impulsive? Do they become more aggressive? Do
16 = dramatic demonstrated, in my mind, trigger which 16 they become more suicidal? And the answer was an
17 has a causal mechanism, which affects depression, 17 ~—s unequivocal yes. So that any drug that disrupis
18 which is a major correlate of suicide outcome and 18 the serotonergic system contributes to impulsivity.
19 in a person who had lived with these risk factors 19 Q. Doctor, first, we talked yesterday for a
20 ~~ for many years. You have to ask yourself, why now? 20 ~~ long time about Mr. Smith's Neurontin ingestion and
21° Why now? Why not -- why not earlier when he had a 21. what you wrote in your report about it and whether
22 laminectomy and it didn't work? So -- 22 ‘there was evidence that the family ever observed
23 Q. And so the -- and so the “why now" question 23. Mr. Smith actually take his drugs. And you answered
24 _~— sis the reason why you would attribute the suicide to 24 —s questions for a long time yesterday about that.
25 Neurontin? 25 The answer you just gave is not meant to
693 695
1 A. That's certainly one of the major 1 replace or change the answers you gave yesterday, is
2 factors. You know the law, post hoc ergo propter 2 it?
3 hoc. It was just after he took the Neurontin and a 3 A. No, | think it -- t think | said the same
4 significant amount of that, before he had all these 4 thing | said yesterday.
5 risk factors that you described before his 5 Q. Okay. But -- but what | want -- yesterday
6 laminectomy in '03, and he didn't kill himself. 6 = you said that -- well, I'm not going to debate with
? Q. Now, | want to ask you, you said twice. 7 ~~ - you what you said.
8 You said once he had a large amount of Neurontin 8 All l want to know is, is the answer that
9 before he killed himself, and now you just said he 9 = you just gave right now, that is not meant to replace
10 had a significant amount of Neurontin before he just 10 the answers you gave yesterday when we went over thi
11 __ killed himself. 11. - at length your opinion about Mr. Smith's ingestion
12 You're not suggesting he took a lot of 12 of Neurontin?
13 Neurontin on the day before he killed himself? 43 MR. ROSENKRANZ: Objection to form.
14 A. Not at all. 14 A. Correct.
15 Q. You're talking about normal usage? 15 Q. Okay.
16 A. I'm talking about the normal usage that | 16 A. | stand by what | said yesterday, and
17 described. My best estimate of how much Neurontin 17 _ it's allin my report.
18 he had is in my report, 67 days, some of those days 18 Q. Okay. And if you turn to page 22 of your
19 BID, near the end TID, leftover samples, wife saw 19 report, this is your -- these are your 15 factors
20 him take it, maybe missed a couple of times. 20 ~~ that you mentioned in your answer just a bit ago?
21 Seo | don't know exactly, but he had a 21 A. Yes.
22 significant opportunity to nave a new factor, which 22 Q. And number 13 is anger, aggression,
23 ~~ |. think is suicidogenic, which could easily, could 23 ~— impulsivity and Irritability, correct?
24 ~~ easily make him unable to cope, could easily make 24 A. Right.
25 him write a suicide note like that. 29 Q. And you write no?

 

 

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

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Maris, Ron (F&P Expert) 10/1/2008 9:54:00 AM

 

 

696 698
1 A. That's wrong. That - that was from the 1 Q. Then you wrote your report in December of
2 psych autopsy. | didn't -- I'm - I'd be 2 2007 relying on that psychological -- psychological
3s interested to go back and look at the psych autopsy 3 autopsy, right?
4 and see if | didn't correct Michelle Faye, because 4 A. Right.
5 she wrote that, and | went on her evidence. But 5 Q. Then yesterday you told me you went back
6 that's absolutely wrong. It should have another 6 over that psychological autopsy and you made changes
7 risk factor based on that. That's wrong. 7 in it and you corrected all the things that were
8 Q. So that’s wrong. Today, your testimony 8 — wrong in the psychological autopsy, correct?
9 today, you want to change that answer? 9 A. I didn't say that. | said | corrected
10 A. It's wrong. 10 = many of the things that | found were wrong. This
11 @. What else is wrong in your report, 11. is one! missed.
12. Dr. Maris? 12 Q. Okay. So now you -- do you want to correct
13 MR. SOH: Objection. Argumentative. 13. some more things in the psychological autopsy?
14 A. How would | know? Let me look at the 14 A. | just did.
15 autopsy and make sure | didn't question it in the 15 Q. Is there anything else that you want to
16 autopsy. 16 change in your psychological autopsy as we sit here,
17 Q. So you wrote this - 17 because | need to know what your opinions are. Two
18 A. One thing at atime. You're rushing me. 18 things, Or. Maris, | need to know every change you
19 Q@. Can! ask you while you're looking? 19  wantito make to your psychological autopsy today and
20 A. I'd rather you wouldn't, I'd like to 20 = =— sa let's get it out.
21 ‘concentrate. 21 A. Well, this is it. And this is — this is
22 THE VIDEOGRAPHER: Five minutes. 22 abigone. This is something that | did after |
23 A. Okay. | see what the problem is here. 23 ~~ read Trimble, which was very recent. Here's the
24 = And page 32, question 7513 of the autopsy, the 24 article I'm referring to.
25 questions related to impulsivity were not related 25 Q. That article doesn't even relate to
697 699
1 to Neurontin. They were: Does the decedent 4 Neurontin?
2 typically have a temper and be angry? The answer 2 A, Sure does.
3. is no. Is the person aggressive, typically? No. 3 @, What's the name of the article?
4 Does the person meet the criteria for a 4 A. Impulsivity, Aggression, and Associated
5 DSM-IV impulse control disorder, intermittent 5 Affects. Some literature suggests a serotonergic
6 explosive disorder, cleptomania, pyromania, 6 trait. This trait includes --
¥ pathological gambling, trichotillomania or not t Q. Well, who's the author of that article,
8 otherwise specified? No. 8 Dr. Maris?
9 So the answer based on that evidence had 9 A. Gerald Brown, Frederick Goodwin, and
10 tobeno. But since this issue was raised, and it 10 Markku Linnoila at NIH.
11. was raised specifically in Trimble's depesilion, | 11 ©. Does the word Neurontin appear in the
12. went out and got some more literature from my study 12 article by Brown and Goodwin?
13. of serotonergic dysfunction. And based on that, 13 A. No.
14 and} can give you a copy of the article, it's yes. 14 Q. Right.
15 Q. Well, so let me get this straight. 15 And -- and so after you --
16 You wrote your report in December of 2007, 16 A. You going to teli me what's relevant to
17 right? 17° — to my testimony?
18 A. Right. 18 Q. Are you asking me 2 question?
19 Q. And on the front of your psychological -- 19 A. Yes.
20° psychological autopsy, you -- you reviewed that in 20 Q. Would you like to take my deposition?
21 ~~ June of 2007, right? You reviewed the psychological 21 A. Wo, but I'm saying | think this is
22 ~~ autopsy —- 22 ~—srelevant.
23 A. Yes. 23 Q. Well, all I'm telling -- all I'm asking
24 Q. -- in June of 2007, right? 24 ~=s-you, Dr. Maris, is does the word Neurontin appear in
25 A. Yes, yes, yes, yes. 25 the articte that you just cited from Brown and

 

 

 

 

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861 863
1 information | need to form and defend an opinion. 1 Q. Okay. Did it ever occur to you to interview
2 Often when I look at the records, many of these 2 Ron Bulger?
3. questions in my psych autopsy have never been 3 A. Yes, it did. And | have been — in my
4 asked. 4 past experience is that it's very problematic to
5 And, for example, the risk factors, do | 5 interview witnesses.
6 have sufficient information on each case about the 6 Q. Why?
7 suicide risk factors in order to form an opinion? 7 A. Because the defense always demands it,
8 So all of these sections in here are designed to 8 they get to be there when the interview takes
9 — gather information which may or may nat have been 9 place. And if you do, they're circumspect, they
10 asked before in order to help me as a scientist to 10 don't trusi you. So | have found that often, even
11 look objectively at the factors that | think are 11. though sometimes ! do, it's so problematic, it's
12 related usually to a suicide outcome, in some cases 12 almost like an end run that | go and talk to one of
13. through the causes of the suicide outcome. 13. the witnesses without the other side being there.
14 Q. But fair to say that this psychological 14 = And Ll often get into trouble if | try to do that.
15 autopsy was compiled and put together by plaintiffs’ 15 So, for the most part, [rely on the depositions
16 lawyers? 16 and the file.
17 tn other words, it was plaintiffs who 17 Q. Okay. I'd like to ask you some questions
18 decided what information to inctude in the 18 about some notes that you made on this psychological
19 psychologicai autopsy, you didn't do that? 19 autopsy. If you would, turn to page ten. And
20 A. That's not true. 20 ~— actually, the question begins on page nine, it's
21 Q. Okay. Tell me why that's not true. 21° question number 36. When you get there, let me know,
22 A. We went over this last time. Andy 22 A. Okay.
23 ~~ “Vickery originally had his name on this. All Andy 23 Q. Okay. It says, DCD, and | assume that
24 ~~ ~Vickery in Houston did was to provide me with money 24 ~— stands for decedent. Decedent had two sisters, one
25 ~~ for me to do a hundred percent of the work with one 25 ~~ brother and multiple half siblings. Decedent had
862 864
1 exception, which | pointed out in the Smith case, 1 very little contact with family and was not close to
2 which was the section 17, ihe Puzzling Paradox. He 2 __ her parents, siblings or extended family. Husband
3. wanted to gather information on that and see how 3. has no additional information conceming decedent's
4 ~~ many cases that that was actually his theory. 4 family. Decedent spent time in foster care.
5 But everything else, all 23 of the items 5 You highlighted decedent spent time in
6 are things that | wrote alt by myself. All he did 6 foster care, correct?
7 was provide the money, | provided ihe time and the 7 A. I did.
8 expertise and experience. 8 Q. Why is that important to you? Or why was
9 Q. No, and | understand that. That's actually 9 that important to you?
1G not the point that I'm trying to get at. The point 10 A. Well, one of the theories about suicide
41 I'm trying to get atis that you as an independent 11. is what we sometimes call early trauma or
412. expert and no one of your staff actually gathered the 12 = multi-problem family of origin. And so | saw this
13 information that is contained in the psychological 13 as evidence that she -- that her father was gone,
14 autopsy. Instead, plaintiffs’ counsel is the one who 14. her mother was schizophrenic and she was unable --
15 went through and prepared the responses to these 15 her family was unable to raise her. So she was put
16 questions, correct? 16 in asurrogate home, in a foster care home. In
17 A. Sure. And I~ like 1 do with all my 17 fact, that's where Ron Bulger met her, in a foster
18 books, | went through and locked at it and when | 18 care home. So evidence of multi-problern family and
19 thought that it -- | read the record, of course, 19 ~— early trauma.
20 = just like Michelle Faye does. And when | thought 20 Q. Okay. And | would assume then that that's
21 ‘that she had missed something, | corrected it. So 21. also why you've highlighted the fact that Susan
22-1 -- 1 don't know what the word would be vetted it. 22 ~— Bulger's mother was diagnosed with schizophrenia,
23° «1 -- | stated after | made corrections that this 23 «that she had an abusive family relationship growing
24 ~~ was consistent with my own reading of the record. 24  upwith hermom. And then | see your handwritten
25 Soina sense, we both did it. 25 note where you say, mother beat her with tennis

 

 

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865 867
1 racquet. ts that -- am | reading that correctly? 1 did exactly what you asked me to do, how — in
2 A. That's what Ron Bulger said. Her sister 2 other words, I can say yes, | believe Neurontin was
3. denied thal. 3 a substantial factor in -- a substantial proximate
4 Q. Okay. 4 factor in let's say Susan Bulger's suicide. And |
5 A, Landry said that's not true. Bul Ron 5 ~~ de. Dal think it’s as clear that Neurontin caused
6 Bulger said it was true. 6 her suicide; you know, quole, caused substantial
7 Q. Okay. 7 proximate factor? No, because j think Richard
8 A. And there are examples of where I've & Smith, he was a Christian minister, he had -- he
9 tried to refine a psych autopsy. | didn't take it 9 had lots of protective factors, he didn't have a
10 lock, stock and barrel. 1 went through things and 10 history of psychological -- so in that | sense,
11. highlighted them and made additions and added 11. even though [ think both of them were acceptably
42. additional notes. So | didn’t just have Michelle 12 caused by Neurontin, i thought my opinion was
13. Faye doit. 43. stronger. And so by best, | mean my opinion in
14 Q. Let's go back to your report in this case. 14 Smith is a little stronger than it is in Susan's,
15 If you would, tum to page 28. 15 the confidence that | have in my opinion.
16 A. Yes. 16 Q. Junderstand.
17 Q. About midway down, it says is this the 17 Tetl me — tell me all the things that make
18 best, quote, Neurontin causing suicide case, end 18 = the Susan Bulger case a bad case?
19 quote, that | have ever investigated? Obviously not. 19 MR. ROSENKRANZ: Objection.
20 ~=For example, in some of my other Neurontin suicide 20 A. Aweak case.
21 ~~ cases the decedent had fewer non-Neurontin suicide 21 Q. Aweak case. Fair.
22 risk factors and a more prominent rofe in causing 22 A. Well, obviously the fact that she has a
23 ~~ suicide was played by Neurontin. Nevertheless, | 23 long history of psychiatric disorder, substance
24 _ still opine that Neurontin was a substantial 24 ~=abuse, family trauma, you know, childhood
25 contributing factor in Susan Bulger's suicide. 25 socialization problems, the fact that she had many
B66 868
1 Did | read that correctly? + suicide attempts which, you know, wasn't the case
2 A. Yes, you did. 2 in Smith. In other words, she had a lot -- to make
3 Q. Teil me, what other Neurontin cases have 3 sit short, she had a Iot more suicide risk factors
4 you investigated? What other Neurontin cases have yo 4 — than Richard Smith did.
5 _ investigated? 5 Q. Okay.
6 A. Well, we've already discussed this, 6 4. And all of those, of course, as you know,
7 Smith, Shearer and Crone. 7 are potential alternative explanations for why she
8 Q, Can you rank those for me in terms of which 8 killed herself.
9 one's the best one and which one’s the worst one? 9 Q. Right.
16 MR. ROSENKRANZ: Objection. 10 Is -- no matter what risk factors somebody
11 A. Well, Shearer is in process and i've been 11. has, if they took Neurontin prior to their death and
42 told not to continue working on that, so I've never 12. then committed suicide, would you opine that it was
13. written a report for that. |am not as well 13. the Neurontin that caused the suicide?
14 prepared. And Crone was years ago. I'm going to 14 A. Probably not. | mean, that's -- the
15 have to go out to San Francisco, there's going to 15 problem with that is that’s a hypothetical and a
16 be a deposition soon in November, | believe. But 16 generic statement and we're talking about specific
17 — of the two that I'm familiar with, | think Smith 17 cases. And, of course, in specific cases there are
18 was the best and probably Bulger was the weakest. 18 always facts that are relevant that are absent in
19 Q. Okay. Do you consider yourself an advocate 19 that question. But the short answer is no, |
20 for plaintiffs? 20 = wouldn't say just because they had risk factors and
21 A, No, of course not. 21° took Neurontin that the Neurontin did it. | mean,
22 Q. Okay. Why then do you use the term best? 22 ~=‘there are sometimes when the risk factors are so
23 What do you mean when you say the best 23 = dramatic that they overpower the -- you know, and
24s case? 24 most people who take Neurontin never become
25 A, Only that | read both of them and if! 25 suicidal.

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos}

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1253 1255

1 Q. Did you rule cut the fact that Susan 1 question, give me a minute to think,

2 Bulger had stopped receiving counseling as the 2 Q. What question are you answering?

3. —scause of her suicide? 3 A. Did I consider treatment?

4 A. First of all, | don’t have the same 4 And the question is: She was getting

§ model thal you are assuming, which is a 5 mental health treatment. She was getting

6 differential diagnosis model, where you rule out 6 Effexor and Ciongpin.

7 the alternatives. 7 And almost all psychiatnsts, all

8 My theory, as you know, is that | 8 = they do these days is give you medicine.

9 rule them in, and | talk about them actually 9 So she was getting mental treatment.

10 contributing to making her part of a vulnerable 10 She wasn't getting counseling.

11. minority of patients — 1 Q. Is it your testimony that Susan

12 Q. Well, Dr. Maris -- 12 = Bulger would not have benefited from some

13 THE WITNESS: I'm not finished. 13. counseling in the year prior to her death?

14 MS. SEATON: Okay. 14 A. I don't know. | doubt it, because

15 A. And that by ruling them in, then the 15 — she failed at many, many counseling attempts.
46 Neurontin becomes an additional substantive 16 And | think she had been through

17 ~~ proximate risk factor, not the only factor. 17 ‘there, done that.

18 Se I'm not ruling these things out. 18 It probably wouldn't have made much

19 = | never tried to rule them out. 18 = difference.

20 I'm saying that there was a 20 Q. Let's talk about that -- agree or

21° combination of effects and risk factors that 21°‘ disagree — that for a substance abuser, failed
22 ~=made her suicidal, and which Neurontin was one 22 ~—s and discontinued attempts at detox and rehab is
23 ~— of them. 23 a risk facior for suicide?

24 Q. You have testified in this 24 A. It certainly could be: although, they

25 — litigation, in addition to publicly stating, 25 tend to be chronic, regardless of whether you

1254 1256

1 that any plausible argument that a drug causes a 1 complete detox or not, they tend to relapse.

2 suicide, needs to make every effort to rule out, 2 Q. Would you agree that she failed to

3 or at least account for alternative 3 complete her detox on several occasions?

4 explanations, correct? 4 A. Yes. ,

5 A. Gertainly account for them, 5 Q. Were you aware that in January, 1995,
6 Q. Did you account for the fact that 6 she attempted to detox at Beverly Hospital, but
7 Susan Bulger stopped receiving counseling as the 7 checked out the next day without having gone
8 potential cause of her suicide? 8 through detox at all?

9 A. | Knew about it. | didn't make ita 9 A. Yes.

10 major feature, but | fist it -- not only did | 10 Q. Were you --

11. account for these things, | listed them in my 1 MR. ROSENKRANZ: What was the year
12. report, and said: All of these things were 12 ~~ ‘there?

13. contributory as risk factors. 13 MS. SEATON: Ninety-five.

14 And | went through depression, 14 Q@. Were you aware that Ron Bulger

15 substance abuse, chronic pain, etcetera, 15 interfered with his wife's atternpts to detoxify?
16 ~— etcetera. . 16 A. | have seen some of that in the

17 Q. Show me in your expert report, where 17 records, yes.

18 you considered her lack of mental health 18 Q. Were you aware that after her near

19 ‘treatment as a risk factor. 19 death suicide overdoes attempt in 1993, Ron
20 A. I didn't consider that explicitedly 20 Bulger was barred from the unit as a result of
21 and didn't think it was significant, so | didn't 21 inappropriate behavior after having left two
22 ~~ putitin. 22 ~—sverbally-abuse, threatening phone messages on
23 Incidentally, mental health treatment 23 ~~ «the nurse's voice mail?
24 ~~ is often just drug treatment — 24 A, Yes.
25 THE WITNESS: ['m still finishing my 25 MR. ROSENKRANZ: Objection to form.

 

 

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